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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:12-cr-00375-TLN
12                      Plaintiff,
13          v.                                         ORDER DENYING REQUEST FOR
                                                       ACCESS TO SEALED DOCUMENTS
14   KENNETH KIM PARKS, et al.,
15                      Defendants.
16

17          Kyn Naope (“Naope”), who is not a defendant in this case, but was a defendant in a

18   related case, requests his counsel have access to sealed documents in this case. (ECF No. 331 at

19   1, 3.) Naope pleaded guilty to a single-count information in case 2:15-cr-00133-GEB. (ECF No.

20   331 at 1, 3.) Naope states he plans to move for resentencing based on ineffective assistance of

21   counsel, due to his trial counsel’s “failure to obtain relevant discovery and to investigate and

22   address factual and legal errors” in his pre-sentence report and the government’s sentencing

23   memorandum. (ECF No. 331 at 3.) Naope believes several sealed documents in this case contain

24   information favorable to him and moves for his counsel to have access to review the documents.

25   (ECF No. 331 at 1, 6.) Naope does not move to unseal the documents, but only for access for his

26   counsel to review the sealed documents under a protective order. (ECF No. 331 at 8.)

27          Naope argues the defendants in this case were charged as participants in the same

28   conspiracy to commit unemployment fraud as Naope, and review of sealed pleadings and exhibits
                                                       1
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 1   related to these defendants will help Naope in three ways. (ECF No. 331 at 6–7.) He argues they

 2   will assist him with his factual argument he was not a leader of the scheme, to compare loss

 3   amounts attributed to him with those of the defendants in this case, and to analyze any sentencing

 4   disparity and what portion may be due to ineffective assistance of counsel. (ECF No. 331 at 6–7.)

 5   Naope states “[t]here appears to be no discovery” to support these claims, but that his current

 6   counsel received 8,000 electronic documents from prior counsel that is not indexed or word

 7   searchable, and the government has not assisted by providing an index. (ECF No. 334 at 3.)

 8          The government raises several arguments in opposition to this motion. (ECF No. 333 at

 9   3–6.) As the Court finds Naope does not make any successful arguments in support of his

10   motion, the Court will not address the government’s arguments.

11          Naope has not shown, or cited any authority for the proposition that this Court should

12   allow access to sealed records in a case in which he is not a party and not one of the persons

13   allowed access in the sealing order — the defendant’s counsel or the government. The Court

14   considered all factors set forth in Oregonian Publishing Co. v. U.S. District Court for the District

15   of Oregon, 920 F.2d 1462 (9th Cir. 1990) and In re Copley Press, Inc., 518 F.3d 1022, 1028 (9th

16   Cir. 2008) at the time, and found sealing the documents from all but the excepted individuals was

17   the only way to adequately protect the compelling interests identified. This has not changed.

18          Naope analogizes his request to this Court’s order to allow appellate counsel for one of the

19   defendant’s in this case to have access to sentencing documents relating to that defendant which

20   had been filed under seal in this case. (ECF No. 331 at 4 n.1.) The facts are not analogous. The
21   attorney requesting access in that instance was appellate counsel for defendant Andre Walters and

22   the materials filed under seal related to Mr. Walters’s own sentencing. (ECF No. 330 at 1–2.)

23   The requesting attorney did not represent one of the other defendants in that case much less a

24   defendant in a different, if related, case. (ECF No. 330 at 1; ECF No. 331 at 1–2.) The

25   documents Mr. Walters’s appellate attorney requested where ones to which Mr. Walters and his

26   attorney where entitled, and providing those documents was not counter to the sealing orders.
27   (ECF Nos. 285 at 1; 286 at 1; 298 at 1) (“It is further ordered that access to the sealed documents

28   shall be limited to the Government and counsel for Defendant.”).
                                                       2
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 1         Accordingly, the Court hereby DENIES Naope’s Request for Access to Sealed

 2   Documents (ECF No. 331).

 3         IT IS SO ORDERED.

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 5   Dated: 1/31/2018

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                                                    Troy L. Nunley
 8                                                  United States District Judge

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